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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

LORA D. BURNETT                           §
                                          §
v.                                        §   CIVIL NO. 4:21-CV-857-SDJ
                                          §
COLLIN COMMUNITY COLLEGE                  §
DISTRICT, ET AL.                          §

                                      ORDER

      Upon consideration of Plaintiff Lora Burnett’s Unopposed Motion for an

Extension of Time to Respond to Defendants’ Motions to Dismiss and Motion to Stay

Discovery, (Dkt. #9), the Court finds that it should be granted.

      It is therefore ORDERED that the motion is GRANTED. Plaintiff’s deadlines
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are extended as follows:

      1. Plaintiff’s deadline for responding to Defendants Collin College’s and H. Neil

Matkin’s Motion to Dismiss, (Dkt.# 6), is now January 31, 2022;

      2. Plaintiff’s deadline for responding to Defendants the individual members of

the Board of Trustees’ Motion to Dismiss, (Dkt. #7), is now February 1, 2022; and

      3. Plaintiff’s deadline for responding Defendants’ Motion to Stay Discovery,

(Dkt. #8), is now February 3, 2022.

              So ORDERED and SIGNED this 19th day of January, 2022.




                                                         ____________________________________
                                                         SEAN D. JORDAN
                                                         UNITED STATES DISTRICT JUDGE
